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                                                           U.S. Department of Justice
                                                           Civil Division




                                                                 April 2, 2025

  By ECF
  Honorable Michael E. Farbiarz
  United States District Judge
  U.S. Post Office & Courthouse
  Federal Square
  Newark, New Jersey 07101

         Re:     Khalil v. Joyce, et al. , Civ. Act. No. 25-1963 (MEF) (MAH)
                 Government’s Response to Court’s Order (ECF Nos. 153, 154)

  Dear Judge Farbiarz:

          In response to this Court’s inquiry (ECF No. 153, at 67), the Government believes that an
  interlocutory appeal is appropriate. The issue presented is of tremendous and recurring importance.
  It is one (at minimum) “as to which there is substantial ground for difference of opinion,” as the
  Court’s own extended analysis makes plain. 28 U.S.C. § 1292(b). And resolving this issue in the
  Government’s favor would “materially advance the ultimate termination of the litigation,” because it
  goes to this Court’s jurisdiction. Id. By the same token, declining to certify an interlocutory appeal
  would hazard judicial economy, because all of the Court’s subsequent decisions may end up resting
  upon a jurisdictional premise that an appellate court may later correct. To help facilitate the Court’s
  decision here, the Government has already obtained authorization from the Acting Solicitor General
  to seek an interlocutory appeal in this matter, and would apply for one from the Third Circuit should
  this Court so certify. See id. As for the Court’s other inquiry as to waiver (ECF No. 153, at 67, ECF
  No. 154), the Government does not waive any future challenges to the Court’s jurisdiction and venue
  in this matter.



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                                    Respectfully submitted,

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